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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

LISA E. HILL-GREEN

               Plaintiff,

v.                                             Civil Action No. 3:18CV873-MHL

CITIMORTGAGE, INC.,

               Defendant,

                       ORDER SETTING PRETRIAL CONFERENCE

        Pursuant to Fed. R. Civ. P. 16(a) and 16(b) and Local Rule 16(B), a pretrial conference is

scheduled in this action for April 23, 2019 at 11:15 A.M. Please report to the Courtroom of Judge

Lauck, Sixth Floor, Spottswood W. Robinson, III and Robert R. Merhige, Jr. United States

Courthouse, 701 East Broad Street, Richmond, Virginia. It is anticipated that the conference will

last approximately five (5) minutes.

        Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 26(A)(1), counsel: (1) shall confer not

later than ten (10) days before the pretrial conference for the purposes required by Fed. R. Civ. P.

26(f); and, (2) shall report orally at the pretrial conference on the discovery plan required by 26(f).

        At the conference, the case will be set for trial. Unless approved by the Court before the

pretrial conference, counsel who will actually try the case or counsel with full decision-making

authority shall attend the pretrial conference. Counsel attending shall be prepared to provide

available dates for trial and motions for all counsel of record. In any event, counsel shall be

knowledgeable of the facts and legal issues in the action and shall be prepared to set a firm trial

date.   Absent extraordinary circumstances, pretrial conferences will not be conducted via

telephone.
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       A settlement conference referral will be made at the time of the Initial Pretrial Conference.

Counsel for each party, and a representative of each party with authority to conclude a settlement

of this action, shall meet in person with the assigned magistrate judge to discuss settlement. The

representative for a business entity (corporation, partnership or otherwise) must be an officer or

employee not employed in the business entity’s law department or general counsel’s office,

although such lawyers are welcome to attend with the other representative. Each counsel shall be

prepared to present a cogent, brief summary of the issues of liability and damages. Counsel for

each party shall be responsible to assure that the settlement conference is conducted as herein

prescribed.

       It is so ORDERED.

                                                                            /s/
                                                             M. Hannah Lauck
                                                             United States District Judge

Richmond, Virginia
Date: March 25, 2019


IF THIS CASE IS SETTLED PRIOR TO THE CONFERENCE, PLEASE CALL THE CLERK’S
OFFICE AT 916-2226. THANK YOU.




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